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 9                         UNITED STATES DISTRICT COURT
10          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11
12 In Re 17 U.S.C. § 512(h) Subpoena to          Case No.: 2:22-mc-00120
13 TONIC DOMAINS CORPORATION                     DECLARATION OF JAN VAN
                                                 VOORN IN SUPPORT OF
14                                               ISSUANCE OF SUBPOENA
                                                 PURSUANT TO 17 U.S.C. § 512(h)
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21 I, Jan van Voorn, the undersigned, declare that:
22        1.    I am Executive Vice President and Chief of Global Content Protection

23 for the Motion Picture Association, Inc. (“MPA”). I submit this declaration on
24 behalf of Columbia Pictures Industries, Inc., Disney Enterprises, Inc., Paramount
25 Pictures Corporation, and Universal City Studios Productions LLLP (“ACE
26 Members”), each of which is a member of the Alliance for Creativity and
27 Entertainment (“ACE”). ACE is a global coalition of leading content creators and
28 on-demand entertainment services committed to supporting the legal marketplace
                                                                      Case No. 2:22-mc-00120
        DECLARATION OF JAN VAN VOORN IN SUPPORT OF ISSUANCE OF SUBPOENA PURSUANT TO 17
                                         U.S.C. § 512(h)
     Case 2:22-mc-00120 Document 1-1 Filed 06/15/22 Page 2 of 3 Page ID #:4




1 for video content and addressing the challenge of online piracy. The ACE
2 Members, whether themselves or through subsidiaries and affiliates, own the
3 copyrights in the below referenced copyrighted works.
4           2.     The ACE Members (via the Motion Picture Association, Inc.) are
5 requesting issuance of the attached proposed subpoena that would order Tonic
6 Domains Corporation to disclose the identities, including names, physical addresses,
7 IP addresses, telephone numbers, e-mail addresses, payment information, account
8 updates and account histories of the users operating the following websites:
9
10     Website     Sample 1     Sample 1              Sample 2         Sample 2
                   Infringed    Infringing URL        Infringed        Infringing URL
11                 Title                              Title
       azm.to      Soul         azm.to/movie/soul     Tenet            azm.to/movie/tenet-
12                                                                     e2ebf
13     goojara.to Soul          goojara.to/mJRz8k     Tenet            goojara.to/mXnAbd
14
       123movie Minions      123moviesfree.lov The Lost City           123moviesfree.love/
15     sfree.love            e/watch-                                  watch-movie/the-
                             movie/minions-                            lost-city-2022-full-
16                           2015-full-movie-                          movie-online-
                             online-                                   free/123movies-
17                           free/123movies-                           vnlb5bbo-vnozmn33
                             vgn3z09z-
18                           vgbgwrxx
       d123mov     Uncharted d123movies.to/wat The Lost City           d123movies.to/watc
19     ies.to                ch-movie-                                 h-movie-2/the-lost-
                             2/uncharted-                              city-
20                           2022_cwvoy9jzo/v                          2022_cwqqyvy05/q4
                             knz369-full-movie-                        8ak84-full-movie-
21                           free-online                               free-online
22
            3.     The purpose for which this subpoena is sought is to obtain the identities
23
      of the individuals assigned to these websites who have exploited ACE Members’
24
      exclusive rights in their copyrighted motion pictures without their authorization.
25
      This information will only be used for the purposes of protecting the rights granted
26
      to ACE Members, the motion picture copyright owners, under Title II of the Digital
27
      Millennium Copyright Act.
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                                              -2-                     Case No. 2:22-mc-00120
        DECLARATION OF JAN VAN VOORN IN SUPPORT OF ISSUANCE OF SUBPOENA PURSUANT TO 17
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     Case 2:22-mc-00120 Document 1-1 Filed 06/15/22 Page 3 of 3 Page ID #:5




1
2           I declare under penalty of perjury under the laws of the United States of
3 America that the foregoing is true and correct to the best of my knowledge,
4 information or belief.
5           Executed at Redondo Beach, California, on June 15, 2022.
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                                                                Jan van Voorn
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        DECLARATION OF JAN VAN VOORN IN SUPPORT OF ISSUANCE OF SUBPOENA PURSUANT TO 17
                                         U.S.C. § 512(h)
